Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 1 of 6 PagelD #: 1368

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IN THE UNITED STATES DISTRICT COURT  gyerh hr OL 'S DIVISIB®

FOR THE SOUTHERN DISTRICT OF INDIANA mis JUL -6 AM 10: 05

    
 

MARK A. WHITE, ) SOT ae TRIGT
Petitioner, ) LABR Ree fie B®
)
Vv ) Case No. 1:98-CR-038-LJM-KPF-3
)
UNITED STATES of AMERICA, ) RESPONSE TO ORDER
Respondent . ) TO SHOW CAUSE

Comes now Mark A. White, acting Pro Se, trying diligently to adhere and
follow the Rules and Procedures of this Honorable Court. Petitioner White was
on the notion that this Court did not obtain the authority to grant Petitioner
White with the relief White seeks when asked by this Honorable Court, if White
wanted his motion forwarded to the Appellate Court. Petitioner White under the
assumption that, since this Court did not possess the authority, then the

Appellate Court would be the correct Court.

This Court never ruled on Petitioner White's motion until after the Appellate
Court's decision in Petitioner's White habeas proceeding. Petitioner White paid
the sanction fee in his plight of diligence to seek. justice from the continuance
miscarriage of justice that has prejudiced White since the abandonment of his

post conviction counsel in White's initial collateral review proceedings.

The rules for when a prisoner may establish cause to excuse a procedural
default are elaborated in the exercise of the Court's discretion, McCleskey v.
Zant, 499 U.S. 467, 490 111 S. Ct. 1454, 113 L. Ed. 2d 517, (1991). However,
Congress has authorized district courts to modify sentences in very limited
circumstances. These rules reflect an equitable judgement that only where a
prisoner is impeded or obstructed in complying with clear established federal

procedures will a federal habeas court excuse the prisoner from the unusual

Page 1 of 6

 
Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 2 of 6 PagelD #: 1369 |

sanction or default. See, Strickler v. Green, 527 U.S. 263, 289, 119 S. Ct. 1936,
144 L. Ed. 2d 286 (1999). So allowing a federal habeas court to hear a claim of

ineffective assistance of trial counsel, when an attorney's errors caused a

 

procedural default in an initial-review collateral proceeding acknowledges.

 

As an equitable matter, that the initial-review of collateral proceedings, if
undertaken without the ineffective counsel, may not have been sufficient to

ensure that the proper consideration was given to White's substantial claim. The
U.S. Supreme Court in Martinez Vv. Ryan, states that, ineffectiveness or —
incompetence of counsel during federal post conviction proceedings shall not be

a ground for relief "cause", however, is not synonymous with "a ground for relief’
A finding of cause and prejudice does not entitle the prisoner to habeas relief,
it merely allows a federal court to consider the merits of a claim that otherwise |
would have been procedurally defaulted in White's case. Grounds for relief is his
ineffective assistance of trial counsel, a claim that AEDPA does not bar. White
relies on the ineffectiveness of his post conviction attorney to excuse his failure
to comply with procedural rules, not as an independent basis for overturning his
conviction. Since 2255 precludes White from relying on the ineffectiveness of his
post conviction attorney as a ground for relief, it does not stop White from using
it to establish "cause" under Holland v. Florida, 560 U.S. 130 S.Ct. 2549, 177 L.
Ed. 2d 130 (2010).

In light of the recent 7th Circuit opinion in Joseph Lombardo v. United. States,
case number 15-2860, on April 25, 2016. The Court stated, we find that Lombardo
has made a substantial showing of the denial of his right to effective assistance
of counsel, see 2253(c)(2). The parties shall address whether Lombardo is entitled
to equitable tolling because of ineffective assistance of counsel in his initial-
review of collateral proceedings, see Trevino v. Thaler, 133 S. Ct. 1911 (2013);
Martin v. Ryan, 132, S. Ct. 1309 (2012); Ramirez v. United States, 799 F.3d 845,
852-54 (7th Cir. 2015).

 

In two of the cases cited, the United States Supreme Court suggests that the
landscape has changed regarding the effects of negligent counsel during initial-
review of collateral proceedings. In the foregoing cases, they have explained how
they have significantly departed from its earlier approach in Coleman v. Thompson,
501 U.S. 722 (1991) and that in certain cases, extraordinary circumstances may

 

justify the reopening of a habeas corpus judgement based on ineffective assistance

Page 2 of 6

 
Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 3 of 6 PagelD # 1370

of post conviction counsel. However, for the Petitioner to be entitled to
equitable tolling of a statute of limitations, the Petitioner must establish

that he has been pursuing his rights diligently. The Petitioner has been pursuing
every legal avenue since learning of counse's unprofessional conduct and the
complete form of incompetence of Attorney Childress-Jones has caused in her
miscalculating of the AEDPA deadline, caused mental impairment and a form of
dishonesty with her egregious behavior. Petitioner White's showing of cause is

based on the recent 7th Cir. opinion in Lombardo v. United States, and the ._

 

egregious conduct of ineffective assistance of post conviction counsel. Because
Petitioner White wrote letters to Attorney Childress-Jones and made repeated
phone calls to her office to no avail. Attorney Childress-Jones, did not ©.
investigate or research the Procedural Rules or the finality determination.

The Petitioner renders that, AEDPA of 1996 is the presumption strength and is
reinforced by the fact that equitable principles have traditionally governed the
substantive law of habeas corpus. When Congress codified new rules governing

this previously judicially managed area of law it did so without losing sight of
the fact that the writ of habeas corpus plays a vital role in protecting
constitutional rights. "It did not seek to end every possible delay at all cost"
However, the United States Supreme Court has followed a tradition in which courts
of equity have sought to relieve hardship, which, from time to time, arise from

a hard and fast adherence to more absolute legal rules, which if strictly applied
threatens the evils of archaic rigidity. The flexibility inherent in equitable
procedures enables courts to meet new situations that demand equitable intervention

and to accord all the relief necessary to correct this particular injustice.

| The question here is whether White has showed cause to excuse a procedural
default and the paid sanction handed down by the Court when the 7th Circuit
Court of Appeals has changed its proceedings and approaching of ineffective .~
assistance of post conviction counsel? Since equitable tolling excuses the =.=
procedural default due to the misconduct of a professional attorney, whose
incompetence has amounted to egregious behavior, which creates an extraordinary

circumstance that warrants equitable tolling.

So without a proper evaluation of the procedural history of White's claim,

the Court continues to engage in a complete miscarriage of justice by refusing

Page 3 of 6

 
Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 4 of 6 PagelD # 1371

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to show equity of justice. Since the sole basis of this error is founded on
fraud, negligence, incompetence, and capriciousness, “which is a conscious intent

of wrongdoing."

"In the words of Mr. Justice Holmes, speaking for the United States Supreme
Court, likewise in: regard to a question of procedure, universal distrust creates
universal incompetence, Graham v. United States, 231 U.S. 474, 480 58 L. Ed. 319,

324,34 S. Ct. 148; if in a rare instance a district judge abuses the discretionary

 

authority, the want of which precludes an effective, independent judiciary.
There is always the opportunityfor corrective review by a Gourt of: Appeals and
ultimately by the Supreme Court." The infringement of White's Constitutional
Rights has been dawadled by this court and an officer of the court since ort
attorneys: are officers of the court. Since they are permitted to practice law,
Ex parte Garland, (U.S.) 4 Wall 333, 71 L. Ed. 366 (1867). "Justice Cardozo
stated for the New York Court of Appeals, members in the bar is a privilege
burden with conditions. The attorney was received into that ancient fellowship
for something more than private gain. He became an officer of the Court and like
the Court itself, an instrument or agency to advance the ends of justice. He
might be assigned as counsel to the needy, in criminal or civil causes,:and
serving without pay. People ex. Rel. Karlin v. Culkin, 248 NY 465, 470-471, 162
NE 487, 489 (1928). C.F:E. Brown, lawyers and the promotion of justice 253-254
(1938); because the lawyer is bound by his professional oath to render gratutious

 

service to poor persons. It has long been customary for the Court to assign
counsel to those who cannot furnish their own attorney. H. Drinker legal ethics
62-63 (1963) R-Smith, Justice and the poor 100 (196) in addition to the inherent
power of courts to assign attorneys on the general theory that they ARE AGENTS |

of the court and ministers of justice.

So in White's initial 28 U.S.C. § 2255, this Court construed White's attorney
as an agent, like an agent was something other than an attorney of law or an
officer of the Court. This Court improperly denied White's motion without 9
discussing how his post conviction counsel's performance affected the integrity
of the proceedings. After White's post conviction counsel abandoned White and
left him with a jurisdictionally out of time habeas corpus appeal. Petitioner

White ask this Court to examine all the circumstances and bear in mind the need

Page 4 of 6

 
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Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 5 of 6 PagelD #: 1372

for invoking the rule and integrity to demonstrate why extraordinary circumstance
justify relief, pertinent and sincere consideration included please. A change

in the Supreme Court's approach to the fundamental rules for deciding habeas
corpus cases have changed. The diligence of the Petitioner of whether alternative
remedies were available. Petitioner White's only. chance of raising ineffective
assistance of trial counsel was in his initial 28 U.S.C. § 2255, which is mirrored

to 28 U.S.C. § 2254, which is the initial review for collateral proceedings.

Petitioner White would like to point out that this 28 U.S.C. § 2253(c)(2)
motion is not the same as his previous motion to this Court. The issues presented
are quite different in questions of law and facts. The only similarity is the
effect the deceased person had on White's jury. The jury, the judge, and everyone
who listened to the deceased person speak from the grave. So within the interest
of justice Petitioner White has showed due diligence and cause to have his claims
heard on the merits of law. Petitioner White asserts any additional showing of
cause to please refer to White's initial 2255 and White's 2253 in 2009.

ERRORS OF INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

1.) The omission of the district judge's statement on the record stating,

(that jury heard us treat him as if he was right there on the stand); "meaning"
the deceased person testimony. This error was so obvious and prejudicial without
an objection by White's trial counsel, that the error affected the outcome of

the verdict and White's substantial rights.

2.) Attorney's failure to object to an error in the Court's guideline calculation
that results in a longer sentence for the defendant can demonstrate constitutionally

ineffective performance of trial counsel.

3.) Attorney's failure to investigate and raise clearly established federal law
during the pendency of the defendant on direct review can demonstrate

constitutionally ineffective of trial counsel.

4.) Trial counsel's ignorance of the relevant law can be objectively deficient

Page 5 of 6

 
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Case 1:98-cr-00038-JMS-MJD Document 99 Filed 07/06/16 Page 6 of 6 PagelD #: 1373 |

under Strickland v. Washington, 466 U.S. 668 (1984).

ERRORS OF POST CONVICTION INEFFECTIVE ASSISTANCE

1.) The miscalculation of the AEDPA deadline to adequately file White's initial

28 U.S.C. § 2255 post conviction appeal in a timely manner.

2.) The failure to investigate and research the rules and federal procedure of

Constitutional Law.

3.) The complete incompetence and ineffective assistance as an attorney and
officer of the court, defrauded Petitioner White which prejudiced him and .

abandonment of his legal right.

Petitioner White has showed cause why this Court should not ‘dismiss “his“motion
and under Miller El v. Cockrell, White has demonstrated a substantial claim which
has merit to over-come the default and sanction by the Court because, had it not
been for the errors of the attorney, ‘the outcome in White's proceedings would

have been different, absent the error. Therefore, a: good cause: showing ‘and in the: .

 

interest of justice.

I, Mark A. White, Respectfully Submit,

Pak wa Lita
Mark A. White. (USMS No.. 05671-028)

. FCI Hazelton
P.O. Box 5000
Bruceton Mills, West Virginia 26525
Petitioner, Pro Se

Dated this @/ day of AWE _, 2016.

Page 6 of 6

 
